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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA
                              FORT WAYNE DIVISION

 ALFONSO HOWARD VELAR,

       Plaintiff,                                       Case No. 1:17-cv-00176-WCL-SLC
 v.
                                                         Honorable Judge William C. Lee
 DIRECT ENERGY SERVICES, LLC

      Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, ALFONSO

HOWARD VELAR, and the Defendant DIRECT ENERGY SERVICES, LLC, through their

respective counsel that the above-captioned action is dismissed, with prejudice, against DIRECT

ENERGY SERVICES, LLC, pursuant to settlement and Federal Rule of Civil Procedure 41. Each

party shall bear its own costs and attorney fees.

Dated: March 26, 2018                               Respectfully Submitted,

ALFONSO HOWARD VELAR                                DIRECT ENERGY SERVICES, LLC

/s/ Nathan C. Volheim                               /s/ William B. Thomas (with consent)
Nathan C. Volheim                                   William B. Thomas
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